         Case 24-33268 Document 75 Filed in TXSB on 01/21/25 Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                          §       CASE NO: 24-33268-H1-13
John Steven Milian,                             §
                                                §
DEBTOR(S).                                      §       CHAPTER 13

                          AMENDED WAGE DEDUCTION ORDER

               Employer                                     Chapter 13 Trustee
                                                  (Payments must be sent to this address)
CoreCivic of Tennessee, LLC                     David G. Peake
Attn:Payroll                                    P. O. Box 2158
5501 Virginia Way, Ste. 110                     Memphis, TN 38101-2158
 Brentwood, TN 37027                            24-33268-H1-13

    The Court orders:

             1. Employer must deduct the following amounts from wages payable to John Steven Milian
and send the deducted funds to the Chapter 13 Trustee:

                Monthly              Semi-monthly          Bi-Weekly         Weekly

           $1,975.00                         $987.50             $911.54      $455.77

             2. The first deduction must occur no later than the first payday following 7 days after the
Employer receives this order. Deducted amounts must be submitted to the Chapter 13 Trustee within 7
days of the date of the deduction. The Employer must not charge or require a fee or other cost for
compliance with this Order.

            3. The Chapter 13 Trustee must submit a copy of this Wage Deduction Order to the
Employer within 7 days of entry.

            4. The Chapter 13 Trustee may amend the amount of the payments that are due under this
Wage Deduction Order by sending a Notice of Wage Order Adjustment to Employer. The Employer
must comply with any Notice of Wage Order Adjustment received by the Employer from the Chapter 13
Trustee.

            5. This Order is NOT subject to any limitation under state or federal law regarding
wage garnishments.

             6. This Order remains effective until terminated by Order of this Court.
